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                                                                                                     Case Number(Trans. Court)
                                                                                                      3 :l 8-CR-00288-S(0S)
                            Transfer of Jurisdiction                                                 Case Number(Rec. Court)
                                                                         Judge Sargus                   2:22-cr-16
Name Of Probationer/Supervised Releasee            District                                          Division
 Luis Fernando Salazar Angeles                      Northern District of Texas                        Dallas Division
                                                   Name of Sentencing Judge
                                                    The Honorable Karen Gren Scholer
                                                    U.S. District Judge
                                                   Dates Of Probation/   From                            To
                                                   Supervised Release     December 2, 2020                December 1, 2023
Offense
 Accessory After the Fact to a Conspiracy to Interfere with Commerce by Robbery, 18 U.S.C. § 3
 PART 1 - ORDER TRANSFERRING JURISDICTION

   U.S. District Court For The Northern District of Texas, Dallas Division

  IT IS HEREBY ORDERED that pursuant to 18 USC § 3605, the jurisdiction of the probationer or
  supervised releasee named above be transferred with the records of this Court to the U.S. District Court
  for the Southern District of Ohio, Columbus Division, upon that Court's order of acceptance ofjurisdiction.

  This Court hereby expressly consents that the period of probation or supervised release may be changed
  by the District Court to which this transfer is made without further inquiry of this Court.*




                                               i
                                                   A  .   .
                                            U.S. Distnct Judge
                                                                              !L_t-a-,,,_11 _ _ __



    *This sentence may be deleted in the discretion of the transferring Court.


 PART 2- ORDERACCEPTINGJURISDICTION

   U.S. District Court For The Southern District of Ohio, Columbus Division

   IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be
   accepted and assumed by this Court from and after the entry of this order.



    2/3/2022                                       s/Edmund A. Sargus, Jr.
  Effective Date                          U.S. District Judge




Prob22 (Revised 12/12/14)                                                                                               Page 1 of 1
